                 Case 2:10-cv-08888-CJB-JCW Document 66466 Filed 04/20/11 Page 1 of 3


                                          lN RE: OIL SPILL by "Deepwater Horizon"
                                                     DIRECT FILING SHORT FORMl
                         Authorized by Order of the Court, Civil Action No, 10 md 2179 Rec. Doc. 982
                 (Copies of said Order having also been filed in Civil Actions No. 'f0.8888 and10-27711
       2179                                                                                                                                       BARAIER




     By submftting this docum€nt, I am assertlng a clalm in Complalnt ancl Petitlon of Triton Assel Leasing GmbH, et
     al., No. '10-2771i adopt and incorporate the Mastor Answer [Rec. Doc. 2441 lo the Complaint and Petltion of Triton
     Asset f6.srng Gmbh, et al., in No. 10-2771; and,/or inlervene into, loin and otherwise adopt the Master Complaint
     [Rec. Doc. 8791 for priyate economic losses ("Bl Bundle"] filed in MDL No. 2179 (10 md 2179); and/o. Intervene
     into, join and otherwise adopt the Master Complaint [Rec. Doc. 88ll for post-€xplosion injurles ("83 Bundle")
     filed In MDL No.2179 (10 md 2179).

     Last Name                                                                                                                                    Suffix

       GUY
     Phong Number
       985 / 594-5692
     Address                                                                           City/State/Zip
                                                                                                 llharrrri n    1A 7 n1|'L
     INDIVIDUAL CLAITII

     Emplgy-er     Namq
                                                 LJ                                    BUSINESS CLAIM

                                                                                       Business Name
                                                                                                                                    !
       se-tI employeo
             Description
     Job Title /                                                                       Typ€ ot Business
       Captain
     Add.€ss                                                                           Address
       6457 Hi ghway 56
     City / State /   Zip                                                              City / State / Zip
       Chauvin, LA I0344
     Last 4 digits ol your Social Security   Numbe.                                    Last 4 digits of your Tax lD Number
                                                              2895
     Anomey Nsme                                                                       Firm Nama
       Jqgeph I,. waltz, JJ.
     Address                                                                           City/Stale/Zip
       3L5 -Barrow -Srreet ?. O- tsoy.J+a4                                         -             EouDa, LA . 70361
     Phon6 Numb€r                                                                      E-MarlAddr€ss
       985 / 87 6-013r                                                                                      pdavis 1959@yahoo. cou
    Clairn fled with   BP?           yES E                 NO El                       cleim Filed wlth GccFr, YES E                      NO El
    lf yes, gP Claim   No.:                                                            ll yes. Claimant ldontifi*,'i"rli
                                               0gg3                                                                        , O, U
    Clalm Typ. (Plo.re check all thal apply):
    tr         Damage           n to real or personal property                                   Fear of Future lnjury and/or Medical Monitorlng
    lY I       EamlnOS                                                                           Loss ot Subsistenc6 use of NatuEl Resources
                                                                                                 Reftoval and/or cl€an-up cosls
    H          Person-at
                                                                                        E        Other:




1 This form should be fil€d with the U.5. District Court for the €astern Oistricl of Louisiana in New Orleans, Louasiana In Civil Action No, 10.8888. While thi5 0irect
Fiting Shon Form is ro be filed In CA No- 10-8888, by prior ord€r of the Coun, (Rec. Doc. 246, C.a No- 1G2771 and Rec. Doc. 982 in MDL 2179), the filing of this form
in C.A. No. 10.8888 shall be deemed to be simultaneousty filed in C.A. 10-2771 and MDL 2179. Plaintitf Li.ison Counsel, after bein8 notified electronically by ihe Clerk
ofCourt of the filin8 of this Sho.t Fo.m, shall promptly serve this form throuth the Leris Nerrs tervice syst€m on Oefense liaison.
                                                                                   1



           The flttng ol ahts Dtrect Fiflng ShotT Fotm shall also sawe tn lleu of th. requlrcment ol a Pl.lnifr ?o tite . Ptehurl Profilo Fom'
       Case 2:10-cv-08888-CJB-JCW Document 66466 Filed 04/20/11 Page 2 of 3




Brief Ooscrlption:
'1. For eamings/prolit loss, property damago and loss of subsistence use clarms, d8scribe th€ nature of the injury. For claims
    involying real sstate/property, includo the property location. type of plop€rly (residential/commslcial), and whethar physical
    damagaoccurred. For claims rolating to lishing of any typ6, includs the typo and localion ol fishrng gtounds at issue.

                                                                                                                                 shr imp ln q

  activlties.         I have sus!aIned loss of e a r n I n g s / p r o f I t s '
  ln the Vessels of                                  roqraB and sus!ained danaqes thereto in addiclon

  Eo subsEanElal loss of nonies due and owing under the Vessels of oPPorcunlty

  ContracC slgned with BP.                  My prirnary shrimping area is                           in the GuLf of Mexi.co
  off of che Loulslana coasc.


Z. For porsonal iniury claims, doscribe lhe injury, how and when it was susiained, and id€ntity all health cars providers and
    employers 2OO8 to plosent and complgta authorization lorms tor each

  I was ln conEacE wich coxic levels of oll fron the sPill in quesllon, as sell
  as dlsDersanc rhal has caused severe personal injuries.




3. Fot post-€xplosion claims rolatgd to clean-up or removal, includ€ your role in th€ clean-up activitl€s. th€ name ot your
    gmployor, and whel€ you w€re \{orxlng.

   Mv boat/boaEs worked as a vessel of oDDortunicy under a signed agreenenr with
                                                                                 BP


   for clean up. I have noc been Pald for aIl of my contractua)-Iy agreed upon
   compensatlon for ny boat as weII as danages sustained to my boac as a resuLl

   of this operaELon.




                                                                                                                                 ll ProflL Fom'
                                                 5 h'll tlso tar/a in llau ol         nquhtmant ol I Plttnllll ?o f,tt t Pttin
      Th. llltngol ahtaDE ol F ltlg SDott Fotm                                  'ht
       Case 2:10-cv-08888-CJB-JCW Document 66466 Filed 04/20/11 Page 3 of 3



  Plearc check the box(et) below that you thlnk apply to you and your clalmr:


     E t.      Comr|rrrci€l fishorm.n, shrimp€r. qabb€r, or oystsrmEn, or tho ownl and opo.ator ot e buainss! invotving fshing, ghrimping.
               crebung or oFt€ring.

     E Z Ssafood paocelgo., dlsbibutor, retail and ssatood mat*et, or restaurant owner and operatoa, o. an €mployoo tho.9ot.
     E S, RocJoatlonel bu3ln6ss owner. operator or wo|kar, including I recreallonal llshing busine3g, commqtcial gukje se[v|ca, ot chartor
               f,shing busino$ who sem lh6ir llving through ths uso ot ths Gulf ot Moxtco.

     D l.     Comm€rdd bu3ln63a, busngsa ownor, operalor or wofl<er. including commerciEt div€E, offshorc oilllsld servico. r€oalr and
              supply. rssl sslato agents, and supply companigr, ot an employ€a tharsol.

     D 5.     Rocrcstlmsl spon flsham€n, €cr€atlonal divqr, brachgo€r, or r6creationot boatea.

     El 6.    Plant End dock trc.k9r, inctuding commercisl 3€al@d plant r,vorigr, longshoreman. or teny op€.atoa.

     D7       Oxncr. lr-$or, ot l€as€€ of real p.opo.ly atlegod to b€ demagsd, ha.med or impactod, physlc€lly o.6conomicafiy, including
              l6$ga! ol oyslar bod!.

    D 8. Hotrlowner rnd op.tator, vacaiion r€ntal owncr and agrnt, or all thos€ who €am thelr ltvlng lrom the tourism indusr.y,
    tr 9. BanI. llnanclal Insttutlon, r€tall businesg that sufl9r€d log3os as result of ti6 spi[.
                                        oa                                       a

    tr 10. Paaton who utlllzca nelural rgaourcolr for subllatanca.
    tr 11. Oho.:

    E t.      Bo€t c€ptaln or craw Involy€d in tho Vossel! ol Opportuntty prcgram.

    g 2.      Workc. invotv€d In d.contEminatlng vcsscl! th6l csmc inlo contact with oil and/or chcmic€l dlrpaG€nb.

    E] 3.     Vossd csptaln or clow who ws. noi involvrd in t ro Vosg€|3 ol Opportunity p.ogrem but who wrrr erFo!€d lo ha.mfut chomlc.lr,
              odq! rnd omltslonr durlng po.t-oxplosbn clo€n.up 6ctvitlo..

    Elr.      Clcan-up \rofiar or bq9€h porsonnsl Involvsd in cl€sn-up actlvitia! along sho.glines and Intsr@attrl and lntodHal zmes.

    El 5.     Rslldrnt who llvo! or works in clos€ proximity to coagtglwats|!.

    E8.       Othar


Eoth BP and the Gulf Coast Claims Facility ('GCCF) are hereby authorized to reloase to tho Detendants in MOL
2179 all inlormation and docum€nts submitted by above.named Plaintifr and informatlon rogarding th€ status of any
payment on lhe clalm, subject to such information b€lng treatod as "Confidentiat Access Restriclod' under the Order
                          (Pre.Trial Order No. 11), and subj€ct to full copies ot seme belng made available to both
             (or his        if a;glicable) filing this form and PSC through Plaintiff Liaison Counset.




                                                                     3

   Th. lnt ol,hta Dlr.cl F tng Shor, Fo.m sh.tt tlso t Na ln au ol lh. r.qul.!'mena ol . Pt.lnalfi ao f,h . Pt.lnatll Pront. Form.
